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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


KHOLKAR VISHVESHWAR GANPAT,           *                CIVIL ACTION
    Plaintiff,                        *
                                      *                NO. 2:18-CV-13556 “E” (4)
                                      *
VERSUS                                *
                                      *                JUDGE SUSIE MORGAN
EASTERN PACIFIC SHIPPING PTE. LTD., *
d/b/a/ “EPS,”                         *                MAG.JUDGE KAREN WELLS ROBY
        Defendant.                    *
***************************************

     MOTION FOR COURT ASSISTANCE TO OBTAIN VISA TO ATTEND TRIAL

       NOW INTO COURT, through undersigned counsel, comes Kholkar Vishveshwar Ganpat

(“Plaintiff”) who seeks assistance from this Honorable Court in the form of a letter to the U.S.

Consulate in Mumbai, India, directing or requesting that it assist Plaintiff in attending trial in New

Orleans. by issuing to him an appropriate short-term travel visa. In support of this request Plaintiff

states as follows:

       1.      The jury trial for this matter is set to begin on November 14, 2022, in New Orleans,

Louisiana.

       2.      Plaintiff resides in India and despite best and continuing efforts has not been able

to obtain a visa to enter the United States.

       3.      Plaintiff respectfully requests that this Court issue a letter to the U.S. Consulate in

Mumbai, India, explaining that Plaintiff is indeed a litigant with a legitimate need to visit the

United States for trial and to issue a short-term visa for that purpose1.

       4. Prior to attending an appointment at the U.S. Consulate on May 13, 2022, Plaintiff



1
 A copy of the proposed letter to the U.S. Consulate in Mumbai, India is attached as Exhibit
“1”.
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made various attempts to apply for a visa. However, due to COVID-19, the U.S. Consulate had

suspended routine visa services.

         5. Plaintiff obtained an emergency appointment at the U.S. Consulate in Mumbai on May

13, 2022, to obtain a B1/B2 visa. To demonstrate the bona fide nature of his request, Plaintiff

submitted a copy of this Court’s January 25, 2022 Order to the consular officer during his interview

and informed the officer that he was required to appear at the trial in New Orleans which starts

on November 14, 2022. However, Plaintiff’s application for the B1/B2 visa was rejected and he

was told to re-apply.2

         6. The same day, May 13, 2022, Plaintiff re-submitted an application for a B1/B2 visa

and made a request for an emergency appointment. However, these requests were denied. The

next earliest appointment that Plaintiff was able to obtain with the U.S. Consulate is November 3,

2022.

         7. Plaintiff has attempted to obtain a B1/B2 visa without the Court’s intercession on his

behalf. Due to the global pandemic, appointments have been limited to emergencies specific to

student or exchange visitors, urgent business travel, funerals/deaths, or medical needs.

         8. Plaintiff suggest that his appearance at trial is at least as important as “urgent business

travel” or a student exchange visit.

         WHEREFORE, Plaintiff respectfully requests that this Court issue an instructional letter

to the U.S. Consulate to assist Plaintiff in obtaining a visa to attend trial in New Orleans.



Dated: September 29, 2022




2
 A copy of the letter provided to Plaintiff after his visa application was rejected is attached as
Exhibit 2.

                                                   2
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                                                   Respectfully submitted,


/s/ Pedro P. Sotolongo                             /s/ Richard M. Martin, Jr.
Pedro P. Sotolongo, FL Bar #0584101                Richard M. Martin, Jr. LA Bar #08998
SOTOLONGO, P.A.                                    LAMOTHE LAW FIRM, LLC
1000 5th Street                                    400 Poydras Street
Suite 402                                          Suite 1760
Miami Beach, FL 33139                              New Orleans, Louisiana 70130
Telephone: (305) 415-0073                          Telephone: (504) 704-1414
E-Mail: psotolongo@sotolongolaw.com                E-Mail: rmartin@lamothefirm.com
Co-counsel for Plaintiff, pro hac vice             Local Counsel for Plaintiff


/s/ Alejandro J. Gonzalez
Alejandro J. Gonzalez, FL Bar # 015293
GONZALEZ, P.A.
19 South Krome Ave.
Homestead, FL 33030
Telephone: (877) 413-4448
E-Mail: alex@agonzalezlaw.com
Co-Counsel for Plaintiff, pro hac vice



                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading has this day been
forwarded to the following counsel of record to this proceeding by electronic transmission, this
29th day of September 2022.

       J. Stephen Simms                                    Michael H. Bagot, Jr., T.A.
       Thomas Brown                                        Thomas A. Rayer, Jr.
       Catherine M. Benson                                 Wagner, Bagot & Rayer LLP
       Simms Showers LLP                                   601 Poydras St., Suite 1660
       201 International Circle, Suite 250                 New Orleans, LA 70130-6029
       Baltimore, Maryland 21030                           mbagot@wb-lalaw.com
       tmbrown@simmsshowers.com                            trayer@wb-lalaw.com
       jssimms@simmsshowers.com
       cmbenson@simmsshowers.com


                                                           /s/ Pedro P. Sotolongo
                                                           Pedro P. Sotolongo




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